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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


   STATE OF LOUISIANA ET AL.,

               Plaintiffs,
                                                       Case No. 6:22-cv-00885-RRS-CBW
   v.

   CENTERS FOR DISEASE CONTROL &
   PREVENTION, ET AL.,

               Defendants.



   BRIEF OF AMICI CURIAE 58 LEGAL SERVICE AND ADVOCACY ORGANIZATIONS
     IN OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

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                                 INTEREST OF AMICI CURIAE 1

         Amici Curiae are 58 legal service and advocacy organizations—including public interest law

  firms—who serve immigrant communities throughout the country, including organizations based in

  Louisiana and many along the border in Texas, Arizona, and California. 2 Amici are invested in

  ensuring that all people, including immigrants, are treated with dignity and share a common mission

  of advancing and protecting the constitutional and statutory rights of individuals seeking asylum and

  legal status in the United States. Amici have worked for decades to improve immigrants’ access to



  1
    The parties have consented to the filing of this brief. See Unopposed Motion of Justice Action
  Center for Leave to File Brief of Amici Curiae 58 Legal Service and Advocacy Organizations in
  Opposition to Plaintiffs’ Motion for Preliminary Injunction. No party’s counsel authored this brief
  in whole or in part, and no person or entity other than amici and their counsel made a monetary
  contribution intended to fund the preparation or submission of this brief. Cf. Fed. R. App.
  Proc. 29(a)(4)(E).
  2
    Amici are ACLU Foundation of Louisiana, Advocating Opportunity, Al Otro Lado, ALAS,
  Arizona Justice For Our Neighbors, Asylum Seeker Advocacy Project (ASAP), Black Alliance
  for Just Immigration (BAJI), Bridges Faith Initiative, Cameroon American Council, Cleveland
  Jobs with Justice, Coalition for Humane Immigrant Rights (CHIRLA), Columbia Law School
  Immigrants’ Rights Clinic, Community Asylum Seekers Project, Comunidad Maya Pixan Ixim,
  Disciples Immigration Legal Counsel, Doctors for Camp Closure, Florence Immigrant &
  Refugee Rights Project, Freedom Network USA, HIAS, Hispanic Federation, Home is Here
  NOLA, Human Rights First, Human Rights Initiative of North Texas, Immigrant Defenders Law
  Center, Immigrant Law Center of Minnesota, Immigrants’ Rights Law Group, Immigration
  Services and Legal Advocacy, International Refugee Assistance Project, Jewish Activists for
  Immigration Justice, Justice Action Center, Justice for Our Neighbors El Paso, Justice in Motion,
  Kids in Need of Defense (KIND), Latin America Working Group (LAWG), Lawyers for Good
  Government, Louisiana Advocates for Immigrants in Detention, LSN Legal LLC, Migrant
  Center for Human Rights, National Immigration Law Center, National Justice for Our
  Neighbors, Oasis Legal Services, Refugee and Immigrant Center for Education and Legal
  Services (RAICES), Robert F. Kennedy Human Rights, Save the Children, Service Employees
  International Union (SEIU), SMW Legal LLC, South Carolina Appleseed Legal Justice Center,
  Student Clinic for Immigrant Justice, Tahirih Justice Center, The Advocates for Human Rights,
  The Southern Poverty Law Center, Tulane Immigrant Rights Clinic, UCSF Health and Human
  Rights Initiative, VECINA, Voces Unidas: Louisiana Immigrant’s Rights Coalition, Volunteer
  Lawyers for Justice, Women’s Refugee Commission, and Young Center for Immigrant
  Children’s Rights. This brief does not represent the institutional views of Tulane University, if
  any.



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  legal services and representation, to ensure immigrants arriving in the United States can pursue all

  relief they are entitled to seek under the law, and to ensure immigrants’ constitutional due process

  and other rights are upheld.

         Collectively, amici serve tens of thousands of immigrants annually, including through

  providing direct services and legal services. Relevant here, many of amici’s clients seek relief at the

  U.S.-Mexico border and have been subject to Defendants’ summary expulsions of immigrants

  pursuant to the purported health order initially adopted by the Trump administration under 42 U.S.C.

  § 265 (the “Title 42 Order”). See Order Suspending the Right to Introduce Certain Persons From

  Countries Where a Quarantinable Communicable Disease Exists, 85 Fed. Reg. 65806 (Oct. 16,

  2020); Public Health Reassessment and Order Suspending the Right to Introduce Certain Persons

  From Countries Where a Quarantinable Communicable Disease Exists, 86 Fed. Reg. 42828-02

  (Aug. 5, 2021). Also relevant to this case, several amici contract with the federal government to

  represent unaccompanied children, 3 a particularly vulnerable population that especially suffers from

  expulsions under the Title 42 Order.

         In addition to providing a variety of services to immigrant populations in the U.S., multiple

  amici have litigated to protect immigrants’ rights to access asylum and other relief under U.S. law

  and have appeared as amici in cases like this one that impact their organizational missions and ability

  to serve clients. E.g., Immigrant Defenders Law Center v. U.S. Dep’t of Homeland Security, No.

  2:21-cv-00395-FMO-RAO (C.D. Cal. filed Jan. 14, 2021); Immigrant Defenders Law Center v.

  Wolf, No. 2:20-cv-09893-JGB-SHK (C.D. Cal. filed Oct. 28, 2020); O.M.G. v. Wolf, No. 1:20-cv-

  00786-JEB (D.D.C. filed March 31,2020); Capital Area Immigrant Rights Coal. v. Trump, No. 1:19-

  cv-02117-TJK (D.D.C. filed July 16, 2019).

         Amici have a strong interest in this case, which attempts to limit the ability of immigrants to

  request and access a legal process afforded to them by federal law. Indeed, Plaintiffs ask the Court


  3
   An unaccompanied child has “no lawful immigration status in the United States;” has not turned
  18 years old; and has “no parent or legal guardian in the United States [] available to provide care
  and physical custody.” 6 U.S.C. § 279(g).
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  to require Defendants to summarily expel migrants under the Title 42 Order, which is itself subject

  to pending litigation due to its illegality. See, e.g., Huisha-Huisha v. Mayorkas, 27 F.4th 718, 733,

  735 (D.C. Cir. 2022) (affirming preliminary injunction of Title 42 expulsions to prohibit the

  government from expelling migrants to countries where they are likely to be persecuted or tortured,

  and remanding for further consideration of other claims) (mandate subsequently stayed until May

  23, 2022). Given their work representing and advocating for immigrants affected by the Title 42

  Order, amici have a compelling interest in the outcome of this litigation.

         Amici respectfully submit this brief to assist the Court in evaluating the merits of Plaintiffs’

  pending Motion for Preliminary Injunction. In light of their experience working with individuals

  subject to the Title 42 Order, amici believe they will offer the Court a unique perspective as to the

  public interest and why it overwhelmingly favors upholding Defendants’ decision to stop summarily

  expelling migrants on purported public health grounds, particularly at this point in the pandemic.

  Plaintiffs’ efforts to set aside Defendants’ decisions jeopardize amici’s interests by potentially

  harming the tens of thousands of individuals whom amici represent.

                                         INTRODUCTION

         In March 2020, former President Trump issued an order under Title 42 of the United States

  Code, ostensibly on public health grounds, that effectively prevented any asylum seeker arriving

  at the southern border from requesting and accessing the legal process and humanitarian

  protections afforded to them by U.S. law. For the last two years, that order and subsequent

  extensions (collectively, the “Title 42 Order”) have been used to categorically shut the door on

  tens of thousands of people seeking safety, notwithstanding that the Title 42 Order never had a

  sound public health justification and defied recommendations of the World Health Organization.

  Thus, for the last two years—notwithstanding a sustained chorus of objections to the purported

  public health rationale of the Title 42 Order—the federal government has summarily expelled

  (without process) vulnerable migrants, either back to their home countries and the conditions

  which caused them to flee in the first place, or to Mexico, where migrants are preyed upon by

  gangs and cartels for kidnappings, rape, violent attacks, and death.

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          On April 1, 2022, Director Rochelle Walensky of the Centers for Disease Control and

  Prevention issued a Public Health Determination and Order terminating expulsions under the Title

  42 Order, with an implementation date of May 23, 2022 (the “Termination Order”). Public Health

  Determination and Order Regarding the Right to Introduce Certain Persons from Countries Where

  a Quarantinable Communicable Disease Exists (Apr. 1, 2022), Compl., Ex. A, ECF No. 1-1, at 29.

  The Director determined that the “suspension of the introduction of covered noncitizens [subject

  to the Title 42 Order] is no longer required in the interest of public health . . . particularly in light

  of less burdensome measures that are now available to mitigate the introduction, transmission, and

  spread of COVID-19.” Id. at 5.

          Plaintiffs seek to enjoin the Termination Order in its entirety, requesting that mass,

  summary expulsions of asylum-seeking migrants continue in perpetuity. Compl., ECF No. 1, at

  37–38, 41. Plaintiffs argue that they will be not just injured, but irreparably harmed, if the

  Department of Homeland Security (“DHS”) considers asylum claims through the procedure

  outlined in the Immigration and Nationality Act (“INA”), just as the federal government did for

  several decades prior to March 2020. See Pls. Mem. Supp. Mot. Prelim. Inj. (“Pls. Mot.”), ECF.

  No. 13-1, at 40–41. Their arguments are unsupported by evidence and without merit.

          The public interest factor of the preliminary injunction standard “requires the court to

  consider what public interests may be served by granting or denying a preliminary injunction,”

  Louisiana v. Becerra, No. 3:21-cv-04370, 2022 WL 16571, at *15 (W.D. La. Jan. 1, 2022) (citation

  omitted), which reflects a “judicial concern about the impact of legal decisions on society as a

  whole,” Miss. Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618, 626 (5th Cir. 1985).

  This factor weighs heavily against Plaintiffs’ requested injunction because the Title 42 Order

  subjects migrants to further trauma and violence, including rape, kidnapping, extortion, and even

  death. The CDC’s order terminating expulsions under Title 42 furthers the public interest by

  ensuring that these individuals are not returned to harm by the U.S. government. See Nken v.

  Holder, 556 U.S. 418, 436 (2009).



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         For these reasons, set forth in greater detail below, the Court should deny Plaintiffs’ Motion

  for Preliminary Injunction.

                                             ARGUMENT

         Plaintiffs ask the Court to issue a preliminary injunction prohibiting Defendants from

  implementing the Termination Order issued by CDC Director Walensky, and thereby to require the

  federal government to continue applying the Title 42 Order to summarily expel migrants, en masse,

  without regard to the statutory procedures that Congress established in the INA. Plaintiffs cannot

  justify such relief. Defendants thoroughly explain why Plaintiffs’ claims lack merit and how

  Plaintiffs have additionally failed to substantiate any threat of injury absent an injunction, much less

  a substantial threat of irreparable harm; amici will not repeat those arguments here. See Defs. Mem.

  Opp’n Pls. Mot. Prelim. Inj., ECF No. 40 (“Opp.”) at 20–39. Amici instead address the final

  preliminary injunction factor relating to the public interest, which is of particular significance to

  them because of the effects the requested injunction would have on the tens of thousands of

  individuals, especially vulnerable immigrant children and families, whom amici serve.

         Other than repeating their merits argument, Plaintiffs’ solitary argument for why enjoining

  the Termination Order is in the public interest is their assertion that the resumed, ordinary operation

  of U.S. immigration law is contrary to the public interest because it will result in more immigrants

  in the United States and in the Plaintiff States. See Pls. Mot. at 41 (claiming that an injunction would

  protect the federal government from the “self-inflicted harm” allegedly caused when the federal

  government provides migrants seeking humanitarian protection with the process Congress created).

  But Congress has already decided that providing asylum seekers with its prescribed process—the

  process that Plaintiffs want enjoined—is in the public interest. See, e.g., Refugee Act of 1980, Pub

  L. No. 96-212, § 101(a), 94 Stat. 102 (“The objectives of [the Act] are to provide a permanent and

  systematic procedure for the admission to this country of refugees [and asylees] of special




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   humanitarian concern to the United States . . . .”). 4 Plaintiffs’ argument is thus plainly inadequate to

   satisfy their burden. See Tex. Med. Providers Performing Abortion Servs. v. Lakey, 667 F.3d 570,

   574 (5th Cir. 2012) (“[A] preliminary injunction is an extraordinary remedy which should not be

   granted unless the party seeking it has clearly carried the burden of persuasion on all four

   requirements.”) (citation omitted). This failure alone is sufficient to deny Plaintiffs’ motion. Id.

           In any event, the public interest would be substantially harmed by the requested relief.

   Plaintiffs’ proposed injunction would continue to subject migrants—including unaccompanied

   children, families, and migrants with family already in the United States—to dangerous and

   traumatic conditions in Mexico and/or in their home countries. There is no legal, moral, or humane

   argument that the incalculable human cost exacted by the Title 42 Order can possibly be in the public

   interest.

   I.      THE PUBLIC INTEREST STRONGLY FAVORS TERMINATION OF THE
           TITLE 42 ORDER BECAUSE OF ITS ENORMOUS HUMAN COST
           The public interest strongly favors terminating the Title 42 Order because of the enormous

   human cost the Order inflicts. Just since President Biden was inaugurated, there have been more

   than 10,000 documented cases of violence against asylum seekers stuck in Mexico because of the

   Title 42 Order, including kidnapping, rape, torture, and other violent attacks. 5 The Title 42 Order’s

   effective elimination of the statutory right to apply for asylum and the closure of U.S. ports of entry

   have also forced migrants desperately seeking safety in the United States to take more dangerous


   4
     See also id. (“[I]t is the historic policy of the United States to respond to the urgent needs of
   persons subject to persecution in their homelands . . . .”); accord I.N.S. v. Cardoza-Fonseca, 480
   U.S. 421, 432–33 (1987) (discussing the “abundant evidence” of Congressional intent to
   conform “our asylum law to the United Nation’s Protocol to which the United States has been
   bound since 1968”); E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 669 (9th Cir. 2021)
   (finding that 8 U.S.C. § 1158 reflects Congress’s intent that “migrants arriving anywhere along
   the United States’s borders may apply for asylum”).
   5
    Extending Title 42 Would Escalate Dangers, Exacerbate Disorder, and Magnify
   Discrimination, Human Rights First (April 27, 2022), available at
   https://www.humanrightsfirst.org/resource/extending-title-42-would-escalate-dangers-
   exacerbate-disorder-and-magnify-discrimination.


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   border crossing routes and to cross multiple times for the chance to request asylum; last year, at least

   650 migrants died trying to enter the United States from Mexico—a record high. 6 Because so many

   asylum seekers already have family here, moreover, the consequences of their fate and treatment

   deeply affect individuals and communities throughout the United States as well. Given these

   enormous human costs, the public interest weighs heavily in favor of ending the Title 42 Order.

          When evaluating whether an injunction against the federal government will disserve the

   public interest, the impact that the requested relief will have on the general public is central to the

   Court’s analysis. Chambless Enter. LLC v. Redfield, 508 F. Supp. 3d 101, 123 (W.D. La. 2020).

   Both the Supreme Court and the Fifth Circuit have emphasized the importance of considering the

   broader consequences of an injunction on nonparties when weighing the public interest. See Winter

   v. Nat. Res. Def. Council, 555 U.S. 7, 24 (2008) (“[C]ourts of equity should pay particular regard for

   the public consequences in employing the extraordinary remedy of injunction.”) (citing Weinberger

   v. Romero-Barcelo, 456 U.S. 305, 312 (1982)); Miss. Power & Light Co. v. United Gas Pipe Line

   Co., 760 F.2d 618, 625–26 (5th Cir. 1985) (noting “judicial concern about the impact of legal

   decisions on society as a whole” and looking “beyond the immediate interests of the named litigants”

   when considering the public interest). 7
          Furthermore, in analyzing the public interest and balance of the equities, this Court has

   repeatedly recognized the significant weight accorded to the health and wellbeing of migrants. See

   Report and Recommendation, Dada v. Witte, No. 1:20-CV-00458, 2020 WL 5510706, at *12 (W.D.

   La. Apr. 30, 2020) (recommending release of detained immigrants because of grave “potential

   6
     See Priscilla Alvarez, At Least 650 Migrants Died Crossing the US-Mexico Border, the Most
   Since 2014, International Agency Says, CNN (Dec. 9, 2021), available at
   https://www.cnn.com/2021/12/09/politics/migrants-dying-crossing-us-mexico-border/index.html
   (reporting on data from the International Organization for Migration, which began documenting
   such deaths in 2014).
   7
    To be sure, the impact of Plaintiffs’ requested injunction on the parties is relevant to the Court’s
   analysis. See Nken, 556 U.S. at 435 (in the stay context, noting that the harm to the opposing party
   and the public interest “merge when the Government is the opposing party”). Defendants have
   catalogued the harms likely to occur if Plaintiffs’ requested injunction is granted, see Opp. at 42–
   44, and such threatened injuries tip the public interest against Plaintiffs.
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   injuries” including “illness, discomfort, and pain”), adopted in part, rejected in part by 2020 WL

   2614616, at *1 (W.D. La. May 22, 2020); Report & Recommendation, Peregrino Guevara v. Witte,

   No. 6:20-CV-01200, 2020 WL 6940814, at *10 (W.D. La. Nov. 17, 2020) (recommending grant of

   temporary restraining order to release detained immigrant because of the risk of illness and

   “permanent injuries, disabilities, or death”), adopted by 2020 WL 6929700 (W.D. La. Nov. 24,

   2020).

            Here, Plaintiffs seek to require the federal government to continue enforcing the Title 42

   Order and to categorically expel asylum seekers indefinitely without giving them the opportunity—

   to which they are statutorily entitled—to seek asylum and other immigration relief. It is beyond

   dispute that the injunction sought by Plaintiffs would result in the expulsion of thousands of

   individuals to countries where they are likely to face substantial harm, thus condemning them to

   physical harm, suffering, sexual assault, and possibly death. The public’s interest, including that of

   the thousands of vulnerable migrants whom amici represent and advocate for, weighs decidedly

   against Plaintiffs’ requested injunction.

            A.     The Title 42 Order Subjects Asylum Seekers to Kidnapping, Rape,
                   Extortion, Torture, and Family Separation.
            As noted above, the Supreme Court has recognized a strong public interest in ensuring that

   migrants are not deported to “countries where they are likely to face substantial harm.” Nken, 556

   U.S. at 436. Similarly, Congress declared in the Refugee Act of 1980—which created the modern

   asylum process—that “it is the historic policy of the United States to respond to the urgent needs of

   persons subject to persecution in their homelands.” Pub. L. No. 96-212, § 101(a), 94 Stat. 102.

            The public interest in providing humanitarian protection to migrants fleeing persecution and

   in ensuring the United States’ compliance with its domestic and international law obligation of non-

   refoulement applies with particular force in this case. As the following stories demonstrate, the Title

   42 Order consigns vulnerable migrants either to abuse in their home countries or to Mexican border

   cities where cartels and gangs—sometimes abetted by Mexican authorities—intentionally target

   migrants for kidnapping, rape, extortion, and torture, in direct contravention of the public interest.


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   The Title 42 Order has also served as an engine of government-sanctioned family separation,

   inflicting widespread harm as families have been separated by gang violence, deprivation and

   hardship, and the federal government itself. Given the trauma and dangers that migrants suffer upon

   their expulsion, denying Plaintiffs’ requested injunction is overwhelmingly in the public interest.

                          The Public Interest Is Furthered by Not Sending Migrants to Places
                          Where They Risk Substantial Harm.
          Organized gangs in Mexico commonly abuse migrants expelled under the Title 42 Order,

   especially those who are most vulnerable. Not only are individuals expelled from the United States

   easily identifiable, but many lack the resources to protect themselves, such as access to even the

   most basic shelter. Denied the opportunity to seek refuge under U.S. law, they are faced with the

   Hobson’s choice of remaining in Mexico—vulnerable to exploitation, violence, and death—or

   returning to their home countries, which often presents an even graver threat to their safety.

          Gabriel, 8 for example, fled his home country of Honduras with his wife and three young
   children after gangs killed three of his wife’s siblings, tried to kill his brother, burglarized Gabriel’s

   home, severely beat him after he reported the burglary to the police, and threatened to kill him and

   his family. Although Gabriel received asylum for himself and his family in Mexico, he was forced

   to flee yet again when the gangs from Honduras tracked him to Mexico to take revenge. U.S.

   immigration officials expelled Gabriel, his wife and children, and his brother to Mexico under the

   Title 42 Order in February 2021. Because they feared for their lives in Honduras, Gabriel’s family

   remained in Mexico, hoping that it would be less dangerous, even though they often went hungry

   and were repeatedly threatened by gangs. In July 2021, gang members kidnapped Gabriel and his

   brother for ransom, subjecting both men to physical abuse until they were able to escape.

          The story of Gabriel’s family is unfortunately typical of many families who have sought

   protection from persecution in the United States, only to be expelled to hardship and trauma in


   8
    Amici have used pseudonyms for all individuals whose stories are shared in this brief. Supporting
   documentation for each story is held by the individual’s attorney of record.


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   Mexico. The abuse these families experience harms the entire family, with lasting repercussions.

   Sebastian, for instance, is a seven-year-old Black Honduran boy who witnessed the violent rape of

   his mother by a gang after they were expelled to Mexico under the Title 42 Order. When Sebastian’s

   mother later turned to the Mexican police for help, the police taunted Sebastian’s mother, asking

   how much she would charge to give them a turn. As advocates have documented, Mexican

   authorities are known to discriminate against migrants, especially Black migrants. 9       Sebastian’s

   post-traumatic stress and depression endure, and he has repeatedly told his mother that he wants to

   die. 10

             The experiences of Luz, a sixteen-year-old girl from Honduras, are similarly agonizing. Luz

   and her mother fled to the United States because the head of a local gang was trying to force Luz to

   have a sexual relationship with him. After nearly two months of perilous travel to seek safety in the

   United States, U.S. border authorities expelled Luz and her mother to Mexico under the Title 42

   Order in July 2021. Because they feared what would happen to them if they returned to Honduras,

   the family remained in Mexico, surviving on little to eat and finding places to sleep on the street and

   in abandoned homes. While in Mexico, they were assaulted and robbed by Mexican officials

   attempting to prevent immigrants from approaching the river. In a separate incident, a group of men

   also attacked them, raping Luz and attempting to rape her mother. The Mexican police refused to

   provide any assistance. Luz still suffers emotionally and psychologically from her rape, and both




   9
    Nisha Venhat, Black Immigrants Are Facing Rampant Racism in Mexico While Waiting for US
   Asylum: “We Have No Choice,” Buzzfeed News (March 27, 2021), available at
   https://www.buzzfeednews.com/article/nishavenkat/black-immigrants-racism-mexico-asylum;
   see also Mexico: Abuses Against Asylum Seekers at US Border, Human Rights Watch (Mar. 5,
   2021), available at https://www.hrw.org/news/2021/03/05/mexico-abuses-against-asylum-
   seekers-us-border (“Nearly half of those interviewed said Mexican police, immigration agents, or
   criminal groups targeted them for extortion.”).
   10
      In another instance, Graciela, a Honduran mother also expelled under the Title 42 Order with
   her eight-year-old daughter and six-year-old son, considers herself “lucky” because although she
   and her children were kidnapped in Mexico after their expulsion, the kidnappers gang-raped her
   in a separate room so that her children did not have to watch.
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   she and her mother need therapy to cope with the trauma they experienced in Mexico because of

   their expulsion.

           As these stories illustrate, the Title 42 Order sends families into a nightmare that no one

   would wish on another human. The public interest weighs in favor of preventing such harm from

   being imposed upon migrants who merely seek refuge—particularly when COVID-related public

   health measures have long been relaxed as to every other category of traveler to the United States.

                           The Public Interest Is Furthered by Policies that Support Family
                           Unity.
           The public interest also weighs heavily in favor of ending enforcement of the Title 42 Order

   because it has too often resulted in the traumatic separation of minor children from their only

   caregivers. These separations have many proximate causes, including violence in Mexico, the

   desperation to survive after being expelled, and the actions of U.S. immigration officials. But

   regardless of their most direct causes, these family separations—and the concomitant trauma

   inflicted on all family members, especially minor children—could be avoided by ending the Title 42

   Order. Family separation “is a highly destabilizing, traumatic experience that has long term

   consequences on child well-being, safety, and development.” Ms. L. v. Immigration & Customs

   Enf’t, 310 F. Supp. 3d 1133, 1147 (S.D. Cal. 2018). The public interest favors not only preventing

   such traumatic harm to families, see Nken, 556 U.S. at 436, but also “upholding and protecting”

   migrants’ constitutionally protected right to “family integrity and association while their

   immigration proceedings are underway.” Ms. L., 310 F. Supp. 3d at 1148; see also Hernandez v.

   Sessions, 872 F.3d 976, 996 (9th Cir. 2017) (holding that “preventable human suffering” outweighs

   “financial concerns” with “little difficulty”); Chambless Enter. LLC, 508 F. Supp. 3d at 123 (“any

   economic harm pales in comparison to the significant loss of lives”) (citation omitted). The fact that

   terminating the Title 42 Orders will prevent countless family separations is an additional reason why

   doing so is in the public interest.

           Indeed, the Title 42 Order all too often results in the expulsion of vulnerable families into

   the waiting hands of gangs and cartels, which means that gang violence often causes traumatic family


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   separation that harms both parents and children. Isabel, for example, was captured along with her

   husband by the Zetas cartel and separated from her two young daughters, ages four and nine, just

   hours after she and her family were expelled from the United States. While nearly nine months

   pregnant, this wife and mother initially fled Honduras with her family after a gang killed two of her

   brothers—including one who was only fourteen years old—and violently attacked her husband

   because she told the gang that she could not pay them “protection” money. She felt she had no

   choice but to leave to save her family.

          When Isabel and her family attempted to seek safety in the United States in February 2021,

   they were expelled by U.S. border officials under the Title 42 Order. Immediately following their

   expulsion, Isabel’s family walked along the riverbank for four hours in search of a safe place to

   cross, desperate to reach safety. When they finally attempted to cross, they found that the river was

   quite deep—reaching up to Isabel’s husband’s chest—so, like any father, he carried their children

   across the river first. But while her husband was bringing their girls across, a black pick-up truck

   approached Isabel. Men jumped out of the truck, grabbed Isabel by the hair, and threw her to the

   ground. When Isabel’s husband tried to come to her aid, the gang attacked and subdued him,

   capturing them both. They were held for ransom in Mexico for over two weeks, while Isabel was

   nine months pregnant—and with no idea what had happened to their daughters.

          The cartel, which threatened constantly to kill Isabel’s husband, eventually released Isabel

   after she begged for the life of her unborn child. She eventually gave birth to her baby girl in a

   Mexican hospital three weeks after her family had been expelled under the Title 42 Order. Isabel’s

   third daughter, however, weighed only three pounds at birth and required intensive medical care

   because the cartel had starved Isabel for weeks before her daughter’s delivery. When Isabel’s

   husband finally escaped the Zetas and found her and their new baby at the hospital, he was so thin

   and malnourished that she did not recognize him.

          While in the hospital, Isabel and her husband saw one of their daughters on a news program

   featuring interviews with children who had been “abandoned” at the U.S.-Mexico border. They

   were subsequently contacted by U.S. immigration officials who accused Isabel of abandoning her

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   children at the border and stated that they could not allow Isabel and her husband to come to the

   United States to be with their children because of the Title 42 Order. Eventually, Isabel and her

   husband were granted a humanitarian exception and were allowed to reunite with their daughters.

          The hardship and danger that families face after their expulsion to Mexico also predictably

   cause traumatic family separation. Javier, for example, is a sixteen-year-old boy who was forced

   into labor by a gang in Honduras and, as the only means of escape, fled to the United States with his

   parents and older brother. In April 2021, Javier’s family attempted twice to enter the United States

   to apply for asylum, but they were expelled both times under the Title 42 Order. The family was

   returned to extraordinarily dangerous conditions in Mexico: the Mexican police harassed and

   extorted the family, and they also narrowly escaped an attempted kidnapping by the cartel in Ciudad

   Juárez. Out of desperation to protect their child, Javier’s parents sent him across the border alone to

   keep him safe. Fortunately, Javier crossed the border safely, after which he was identified as a victim

   of trafficking because of the labor he had been forced to provide in Honduras, and was taken into

   custody as an unaccompanied child. Javier remains severely traumatized by the experience.

          In addition to family separations wrought by the actions of gangs or by the hardship families

   suffer in Mexico after being expelled, the practical, day-to-day enforcement of the Title 42 Order

   has also resulted in family separation. To enforce the Title 42 Order, for example, Border Patrol

   officers separated Esperanza, a thirteen-year-old girl, from her older sister, who had turned eighteen

   just one day before they presented themselves at the port of entry to apply for asylum. After a

   hurricane destroyed their home in Honduras and gangs started pursuing Esperanza’s sister, the girls’

   mother had sent them to the United States with their family’s entire savings. At the border, CBP

   officers took Esperanza into custody as an unaccompanied child and expelled her sister—her only

   caregiver—to Mexico. Esperanza now has only limited contact with her sister, with whom she has

   been unable to reunite. Esperanza remains distraught over the separation and terrified for her sister.

          Beyond separating children from older siblings and other family members, the Title 42 Order

   has also separated children from their parents. For instance, Daniel and his two-year-old daughter

   were separated from his wife and six-year-old stepson when they attempted to cross the border to

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   apply for asylum in August 2021.        CBP admitted Daniel’s wife and stepson pursuant to a

   humanitarian exception, but he and his toddler were expelled. Daniel and his daughter were forced

   to stay in a crowded migrant shelter in a dangerous neighborhood in Tijuana while his wife and

   stepson were able to connect with extended family members in Virginia. The separation from her

   mother has been severely traumatic for Daniel’s two-year-old daughter, who has lost weight, suffers

   from numerous health issues, and displays extreme emotional swings from disconnect or withdrawal

   to tantrums where she cries hysterically, begging for her mother. Daniel feels powerless to alleviate

   her trauma.

          The experience of Marisa and her separation from her children is equally harsh. After her

   husband was killed, Marisa fled El Salvador with her eleven- and fifteen-year-old sons to protect

   them. They went directly to the border but were quickly expelled under the Title 42 Order. After

   facing the conditions in Mexico, they attempted to enter the United States a second time. On this

   second attempt, Marissa and her children spent seven hours wading through the river, then another

   hour walking, as Marisa bled from a wound on her stomach from a recent surgery. Along this

   journey, they were stopped by local sheriffs’ deputies, who handed the family over to CBP officials.

   Despite showing her children’s birth certificates, Marisa was accused of trafficking her own children

   and then expelled under the Title 42 Order while her children were taken from her and put into

   custody. After she was expelled, Marisa was taken into custody by the Mexican federal police and

   handed over to the cartels, who subjected her to extensive sexual, physical, and psychological abuse.

   The cartels tied her up and left her for dead with several other women, and she survived only because

   she found her way to safety after walking through the desert for days without water or food.

          Although each of these families has suffered, and continues to suffer, trauma under the Title

   42 Order in their own unique way, the substantial harm of family separation is common to them all

   and stems directly from the ordinary operation of the Title 42 Order. The public interest weighs

   heavily in favor of ending the continued mass, summary expulsions under the Title 42 Order, and

   the Court should decline Plaintiffs’ request to subject more vulnerable families to harm and the

   trauma of family separation.

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          B.      Ending the Title 42 Order is Also In the Public Interest Because It Would
                  Prevent Further Unnecessary Traumatization of Unaccompanied Children.
          Ending the Title 42 Order is also in the public interest because it would ensure that

   unaccompanied migrant children are treated humanely and permitted to access unique rights

   expressly granted to them under U.S. law. Indeed, treatment of those children provide an even more

   acute illustration of the harms the Title 42 Order inflicts on those most vulnerable.

          The story of Nicolás is illustrative. For years as he was growing up in Honduras, Nicolás

   was persecuted because of his sexual orientation. As he faced increasing threats on his life and

   safety, he fled his home at the age of 17, embarking on a 2,000-mile journey to seek the safety of

   the United States. As he neared the U.S. border and prepared to request asylum, however, Nicolás

   was kidnapped in a Mexican border city by members of an organized crime cartel. Although Nicolás

   was able to escape his captors and make it to the border, where he requested asylum, the federal

   government detained him and scheduled him for an expulsion flight back to Honduras. It was only

   because the flight was delayed for several days due to Hurricane Hanna that an attorney called U.S.

   immigration officials in time to inquire on his behalf. Through her advocacy, she persuaded the

   government to transfer Nicolás—as well as his cellmate, another Honduran boy booked onto the

   same expulsion flight—into the custody of the Office of Refugee Resettlement (“ORR”), a

   subagency of the U.S. Department of Health and Human Services, as unaccompanied children.

   Nicolás was later united with a sponsor in the United States who provided care for him as he pursued

   asylum. With the help of pro bono legal counsel, an asylum officer found that Nicolás was indeed

   entitled to asylum. He is now beginning his life in the United States, free from violence and

   persecution.

          But for the stroke of luck that allowed him to prove he qualified for asylum, Nicolás’s story

   is not otherwise unique. Many other children have fled violence and persecution in their home

   countries to seek security in the United States, only to be further traumatized on their perilous

   journeys to the U.S. border. Samuel fled his hometown in Mexico at the age of 15 after being

   repeatedly targeted by an organized crime cartel for his refusal to join the gang. Samuel was pursued


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   by the cartel even while on his journey to the United States, and was kidnapped by cartel members

   in a border city as he prepared to ask for asylum. He, like Nicolás, was fortunate to escape and

   ultimately made it to a port of entry where he requested asylum. Nora and Alma fled their home

   countries in Central America at the age of 16 after being repeatedly sexually assaulted and tortured

   by cartel members. Both Nora and Alma were targeted by gangs on their journeys north, and were

   attacked and sexually assaulted before reaching the United States.

          Because of Defendants’ exception from the Title 42 Order at the time for unaccompanied

   children, Nicolás, Samuel, Nora, Alma, and some others have been able to pursue their asylum

   claims in the United States with the assistance of legal counsel rather than being returned to the

   violence and persecution they had escaped. But many have not been so fortunate. For example,

   under the prior administration, thousands of such children were turned back at the border or expelled

   without being given an opportunity to request asylum or to access any of the rights Congress

   specially created for them. 11 See P.J.E.S., 502 F. Supp. 3d at 509 (more than 2,000 unaccompanied

   children were expelled under the Title 42 Order between April and July 2020). In some cases, U.S.

   officials returned children to the country from which they fled; in others, the government expelled

   children to Mexico where the children had already encountered violence on their journey to the

   United States. Whatever the outcome, however, the circumstances for these children were dire.

          For example, Isaías, a 15-year-old from Honduras, fled his home after he received death

   threats from gang members who had repeatedly targeted his family. When he presented himself to

   U.S. immigration officials last summer to apply for asylum, Isaías was detained and later placed on

   a plane. Isaías thought would be traveling to New York to reunite with a family member and was

   devastated to realize upon landing that he had been flown back to the very country he had just fled.




   11
      Hamed Aleaziz, Border Officials Turned Away Unaccompanied Immigrant Children More
   Than 13,000 Times Under Trump’s Pandemic Policy, BuzzFeed News (Oct. 28, 2020), available
   at https://www.buzzfeednews.com/article/hamedaleaziz/border-officials-turned-away-
   unaccompanied-immigrants (reporting that there were more than 13,000 encounters with
   unaccompanied children, resulting in expulsions under the Title 42 Order through October 2020).
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   Since being returned to Honduras, Isaías has been pursued by the same gang members who had

   threatened to kill him.

          Pablo had a similar experience. He left Honduras at the age of 13 after his father was

   murdered by cartel members. After traveling by himself to the U.S. border to seek asylum, Pablo

   was detained for several days and then placed on a deportation flight to Honduras. Mateo and

   Ramón have a similar story. The sixteen- and fourteen-year-old brothers from Mexico fled their

   home after being repeatedly targeted by local cartels. After one particularly severe attack, which

   placed the boys in the hospital for over a month, the brothers presented at the U.S. border to seek

   asylum; they were then expelled back to Mexico.

                                                  *****

          As these and other stories demonstrate, the Title 42 Order has resulted in the return of

   children and families to the same violence and persecution that drove them to leave their homes and

   seek protections afforded under U.S. law—without ever having the chance to be considered for

   humanitarian protection. This is not what Congress intended. See 8 U.S.C. §§ 1232(a)(5)(D), 1229a

   (requiring DHS to place children in immigration proceedings, where they can seek all forms of

   immigration relief available to them, before they can be removed from the United States). Nor is it

   in accordance with the public interest in ensuring that their government is not returning individuals

   “to the countries where they are likely to face substantial harm.” Nken, 556 U.S. at 436; accord

   Leiva-Perez v. Holder, 640 F.3d 962, 971 (9th Cir. 2011) (finding public interest weighs in favor of

   a stay where the migrant argued for the public interest in “ensuring that we do not deliver [individuals

   seeking asylum] into the hands of their persecutors”). Given this interest, and the humanitarian

   concerns central to immigration policy, see Arizona v. United States, 567 U.S. 387, 395–96 (2012)

   (noting that the enforcement of “immigration policy can affect,” among other things “human

   concerns”), the public interest is decidedly in favor of terminating the Title 42 Order.




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                                            CONCLUSION

          Plaintiffs’ request that this Court require Defendants to summarily expel all asylum-seeking

   migrants under the Title 42 Order disserves the public interest.         As discussed above, these

   individuals, amici, and the public at large have a compelling interest in ensuring that asylum-seekers’

   rights to access Congressionally created protections are respected and that these individuals are not

   unlawfully removed to countries where they are likely to be persecuted and experience extreme

   suffering and trauma. The Court should deny the Motion for Preliminary Injunction.


   Dated: May 5, 2022
                                                     /s/ Mary Yanik
                                                     Mary Yanik, LA Bar No. 36973

                                                     /s/ Gabriela Cruz
                                                     Gabriela Cruz, LA Bar No. 40149

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